                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION – DETROIT

In re:
                                                                     Case No. 11-51715
          WAYNE JACOBS,                                              Chapter 7 Proceeding
                                                                     Hon. Walter Shapero
                  Debtor.

____________________________________/

STUART A. GOLD, Trustee,

          Plaintiff,

v.                                                                   Adv. Pro. No. 11-05931

TIMOTHY JOHN JACOBS and
MARILYNNE E. JACOBS,

          Defendants.

______________________________________/


                                        TRIAL OPINION

                                        I. INTRODUCTION

          The matter before the Court is a preference action initiated by the Chapter 7 Trustee

(“Plaintiff”) against Timothy and Marilynn Jacobs (“Defendants”).         The Plaintiff seeks (a)

avoidance pursuant to 11 U.S.C. § 547(b) of an alleged preferential transfer of $33,606.42 made

by the Debtor to the Defendants and (b) a money judgment against the Defendants pursuant to 11

U.S.C. § 550. The parties submitted this proceeding for disposition by the Court on the basis of

stipulated facts and exhibits lieu of a formal trial, and they have submitted the required trial

briefs.




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                                          II. JURISDICTION

       This Court has subject matter jurisdiction over this bankruptcy case and this adversary

proceeding pursuant to 28 U.S.C. §§ 1334 and 157(b)(1) and Local Rule 83.50(a) (E.D. Mich.).

This is a core proceeding under 28 U.S.C. § 157 (b)(2)(F), as it is a proceedings to determine,

avoid, or recover a preference.

                                       III. STIPULATED FACTS

       In the Joint Final Pretrial Order, the parties stipulated to the following facts:

       (1) On April 25, 2011 ("petition date"), Wayne Jacobs ("Debtor") filed a voluntary
       petition under Chapter 7 of Title 11 of the United States Code.

       (2) Stuart A. Gold is the duly appointed Trustee of the Debtor's Chapter 7 bankruptcy
       estate.

       (3) The Defendants are the Debtor's parents and therefore qualify as insiders pursuant to
       11 U.S.C. § 121(31)(a)(I).

       (4) The Defendants reside at 18388 Glendale St., Roseville, Michigan 48035.

       (5) On May 25, 2009, the Debtor and Defendants executed a writing which states, “This
       is an agreement between Wayne Jacobs, and Tim and Marilynn Jacobs. The agreement
       says that any and all Worker Compensation settlements that Wayne Jacobs receive be
       turned over to Tim and Marilynn Jacobs for amounts up to $50,000.00 for the care of his
       family for the time before and up to the settlement” (the “Writing”).

       (6) On March 1, 2011, a Redemption Order was entered awarding the Debtor $33,506.42
       on account of his worker’s compensation claim against the Debtor’s former employer
       ADP Totalsource.

       (7) On March 31, 2011, Specialty Risk Services, LLC, on behalf of ADP Totalsource’s
       insurance company, issued a check for $33,506.42 to the Debtor (the “Check”).

       (8) On April 6, 2011, the Debtor endorsed the Check and transferred it to the Defendants
       (the “Transfer”).

       (9) On April 6, 2011, the defendant Marilynn Jacobs endorsed the Check and deposited it
       into her Chase bank account, account number ending 9753.

       (10) On June 14, 2011, the Debtor amended his response to question 3 “Payments to
       Creditors,” in his statement of financial affairs, to disclose the Transfer.


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    (11) The Debtor, his wife, and one or more of his children lived with the Defendants for a
    period beginning approximately five years prior to the petition date up through the
    petition date.

    (12) The Debtor was insolvent on the date of the Transfer.

    (13) The Transfer enabled the Defendants to receive more than they would have received
    had the Transfer not been made and had Defendants instead received payment of their
    debt under the provisions of Chapter 7 of the Bankruptcy Code.


                                         IV. DISCUSSION

   A. Whether the Transfer May be Avoided as a Preference Pursuant to 11 U.S.C. § 547(b)

    11 U.S.C. § 547(b) states:

    Except as provided in subsection (c) and (i) of this section, the trustee may avoid
    any transfer of an interest of the debtor in property—

    (1) to or for the benefit of a creditor;

    (2) for or on account of an antecedent debt owed by the debtor before such
    transfer was made;

    (3) made while the debtor was insolvent;

    (4) made—

            (A) on or within 90 days before the date of the filing of the petition; or

            (B) between ninety days and one year before the date of the filing of the
                petition, if such creditor was an insider; and

    (5) that enables such creditor to receive more than such creditor would receive
    if—

            (A) the case were a case under chapter 7 of this title;

            (B) the transfer had not been made; and

            (C) such creditor received payment of such debt to the extent provided by
            the provisions of this title.




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To avoid a particular transfer, the Plaintiff must prove each of the elements of § 547(b) by a

preponderance of the evidence. 11 U.S.C. § 547(g); In re Southern Air Transport, Inc., 511 F.3d

526, 534 (6th Cir. 2007).

       The Defendants have stipulated to the presence of the following elements: (1) § 547(b)(3)

(that the transfer was made while the Debtor was insolvent); (2) § 547(b)(4) (that the transfer

was made within the relevant insolvency period); and (3) § 547(b)(5) (that the transfer enabled

the Defendants to receive more than they would have received had the transfer not been made

and had the Defendants instead received payment of their debt under the provisions of Chapter 7

of the Bankruptcy Code). Thus, the only remaining issues are: (a) whether the Defendants are or

were creditors under § 547(b)(1); and (b) whether the transfer was made for or on account of an

antecedent debt owed by the Debtor before the transfer under § 547(b)(2).

       The Plaintiff argues that (1) the Defendants are or were creditors of the Debtor because

the Debtor is indebted to the Defendants by reason of the written statements contained in the

Writing; and (2) the Transfer was made on account of an antecedent debt because the

Defendants’ claim arose when the parties entered into the agreement as memorialized by the

Writing, and thus prior to the date of the transfer. The Defendants argue that the Transfer was

not made on account of an antecedent debt because the Writing is unenforceable due to failure of

consideration under the pre-existing duty rule. The Defendants reason that, because the Debtor

had a pre-existing duty to support his family, his promise to pay the Defendants was for that as to

which he was already bound (to support his family) and thus did not constitute a valid or

sufficient consideration for a contract.




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       11 U.S.C. § 101(10)(A) defines the term “creditor” as an “entity that has a claim against

the debtor that arose at the time of or before the order for relief concerning the debtor.” The term

“claim” is defined under § 101(5), which states:

       The term “claim” means –

       (A) right to payment, whether or not such right is reduced to judgment, liquidated,
       unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,
       equitable, secured, or unsecured; or

       (B) right to an equitable remedy for breach of performance if such breach gives
       rise to a right to payment, whether or not such right to an equitable remedy is
       reduced to judgment, fixed, contingent, matured, unmatured, disputed,
       undisputed, secured, or unsecured.

“Congress intended by this language to adopt the broadest available definition of ‘claim.’”

Johnson v. Home State Bank, 501 U.S. 78, 84 (1991).

       In this case, the Debtor promised to pay the Defendants the proceeds of his expected

worker’s compensation award, up to $50,000.00, in exchange for the Defendant’s providing

support for the Debtor and his family “before and up to” his receipt of the award. That

agreement was memorialized in the Writing signed by both the Debtor and the Defendants on

May 25, 2009. The Defendants thereby obtained a claim against the Debtor contingent upon the

Debtor obtaining a worker’s compensation award or settlement at some point in the future. The

Debtor did in fact receive such an award and he transferred all of it to the Defendants. The

Debtor’s mere promise to pay over the settlement proceeds to the Defendants is a “claim” against

the Debtor, and it is immaterial whether that claim was contingent, disputed, legal or equitable

given the broad definitional statutory language. The defense of non-enforceability, like any

other potential basis for successfully “disputing” the claim ,does not preclude it from constituting

a“claim.” Because the Defendants have a claim against the Debtor, they are creditors of the

Debtor.


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          Section 547(b)(2) requires that a plaintiff prove that the transfer was made on account of

an “antecedent debt” owed by the Debtor before such transfer was made. The Bankruptcy Code

does not define the term “antecedent debt.” In the absence of a statutory definition, a court

construes a term according to its ordinary or natural meaning. FDIC v. Meyer, 510 U.S. 471,

476 (1994). The Bankruptcy Code defines the word “debt” as a “liability on a claim.” 11 U.S.C.

§ 101(12). Black’s Law Dictionary (8th ed. 2004), defines “antecedent” as: “Earlier; preexisting;

previous” and defines the term “antecedent debt” in the bankruptcy context as: “A debtor’s

prepetition obligation that existed before a debtor’s transfer of an interest in property.”

          As noted, the Defendants argue that there was no antecedent debt because the Debtor’s

agreement to pay is unenforceable due to failure of consideration under the pre-existing duty

rule, i.e.: because the Debtor had a pre-existing duty to support his family, his promise to pay the

Defendants for that which he was already bound to do (to support his family) did not constitute a

valid or sufficient consideration for the agreement. See Yerkovich v. AAA, 461 Mich. 732, 740,

610 N.W.2d 542 (2000) (an essential element in a contract claim is legal consideration). “Under

the preexisting duty rule, it is well settled that doing what one is legally bound to do is not

consideration for a new promise.” Id. at 740–741, 610 N.W.2d 542. Such a contract would

appear to fail for lack of consideration. Puett v. Walker, 332 Mich. 117, 122, 50 N.W.2d 740

(1952).

          The pre-existing duty rule does not apply to the facts of this case. Parents do have a duty

under Michigan common law to take care of their children who have not yet obtained the age of

majority. In re Stephenson’s Estate, 216 Mich. 320 (1921). However, if one were to accept the

Defendants’ argument and carry it to its logical and quite analogous conclusion, one might have

to question the legal status of agreements by parents to compensate their children’s baby sitters,



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nannies, nurses, tutors, or other types of caregivers or persons whose activities might very well

be fairly considered as part of the support function or responsibility of the parents. To pay

another to assist one in carrying out one’s own parental duties (whether because of the inability

of the parent to do so financially or otherwise, or not) does not deprive the paid for services of

their value or from being considered sufficient legal consideration for the debt arising from the

agreement to pay. Furthermore, if one looks at this proceeding from the perspective of the

consideration for the Debtor’s promise being the Defendants’ agreement to take care of the

Debtor’s family for the indicated period, there is valid consideration from that standpoint. The

Defendants’ duty of support of the Debtor, their son, only extended for the period of his

minority. See In re Stephenson’s Estate, 216 Mich. 320 (1921). It appears to be undisputed in

this case that, at all critical times, the Debtor was of age. Given that fact, plus what appears to be

the law that, even if he wasn’t of age, the legal duty of support would not extend to the Debtor’s

wife and children (and forgetting that it appears that at some point prior to the filing of the

bankruptcy case the Debtor was divorced), it becomes apparent that the Defendants’ promise was

not one for which they already had some legal duty. Thus, it was appropriate consideration to

support the existence of a “debt,” and indeed an antecedent one, for purposes of this case.

       The Defendants also argue that parents of children cannot bargain away their duty to

support their children and that the Debtor’s attempt to do so is unenforceable. The Defendants

cite Wiersma v. Wiersma, 241 Mich. 565 (1928) in support of that argument. In that case, the

plaintiff and the defendant had divorced. The plaintiff was awarded custody of their two minor

children and, under the terms of the divorce decree, the defendant was ordered to pay $7 per

week for the support and maintenance of the children until the court ordered otherwise. The

defendant filed a petition for a modification of the divorce decree to relieve him from making



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those payments. The defendant claimed that he had the right to seek a modification based on an

alleged written agreement with the plaintiff, which had been executed before the divorce decree

was signed and had been annexed to the petition, in which the plaintiff agreed that the weekly

payments should cease upon her remarriage. The Michigan Supreme Court agreed with the

analysis of the trial court, which said:

       The law of this state is settled that the parents may not bargain away the
       children’s welfare, the children’s rights, that the court may always do what seems
       reasonable and necessary to protect the children’s rights, and having in mind that
       policy or rule, the court made a special effort in this particular case to see to it that
       these parents should not do that very thing. They attempted to do it then. Failing
       in the attempt then they are now attempting to do it, or one of them is attempting
       now to circumvent an order of the court that was made for the purpose of
       protecting the welfare of these children. Well, the court refused to permit them to
       do it, and the court must necessarily refuse to permit them to do it now.

        Here, the Debtor did not bargain away his children’s welfare or their rights, nor did he

attempt to bargain away the duty to support or care for them. That legal duty remained with him

and his giving away funds which could have been used for that purposes does not negate or

eliminate that duty. Rather, he made an agreement with his parents that allowed him to support

and care for his children himself while his parents provided them with a place to live and paid for

almost all of their living expenses until the Debtor received his worker’s compensation award.

Therefore, the Court concludes that the preexisting duty rule does not apply to the facts of this

case and that the agreement between the parties is enforceable.

       As noted, the Defendant’s claim arose at that time the Debtor promised to pay the

Defendants the proceeds of his expected worker’s compensation award in exchange for the

Defendant’s providing support for the Debtor and his family until he received the award. That

agreement was memorialized in the Writing on May 25, 2009. The Defendants allowed the

Debtor and his family to live with them, almost entirely expense free, during the approximately



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five years prior to the petition date. The Redemption Order awarding the Debtor $33,506.42 on

account of his worker’s compensation claim against ADP Totalsource was entered on March 1,

2011. On March 31, 2011, Specialty Risk Services, LLC, on behalf of ADP Totalsource’s

insurance company, issued a check for $33,506.42 to the Debtor. The Debtor transferred those

funds to the Defendants on April 6, 2011. The claim and the debt clearly arose before the

transfer was made and, therefore, the Court concludes that the transfer was made on account of

an “antecedent debt” owed by the Debtor to the Defendants.

       Lastly, the Defendants argue that the Plaintiff has not met his burden of proving that the

Defendants cared for the Debtor and his family because there is no evidence before the Court of

any actual expenditures made by the Defendants on behalf of the Debtor and his family. That

argument must fail. The stipulated to facts and exhibits clearly support a finding that the

Defendants provided the support and care to the Debtor and his family as bargained for in the

Writing. Specifically, (1) paragraph “m” of the Stipulated Facts section in the Joint Final Pre-

Trial Order states: “The Debtor, his wife and one or more of his children lived with the

Defendants for a period beginning approximately five years prior to the petition date up through

the petition date.”; (2) on his Schedule J, the Debtor lists only one expense, $200 per month for

food, and notes that “Debtor and kids live with his parents and they pay all other expenses.”; and

(3) in response to question 4 on his Statement of Financial Affairs, entitled “Payments to

Creditors,” the Debtor states that he transferred $33,526.00 to his parents and notes: “Debtor

gave them his work comp money for taking care of him and his kids last couple years.” The

Defendants have not disputed, questioned, or otherwise addressed those sworn statements.

Accordingly, the Court concludes that there is adequate evidence that the Defendants did in fact

provide support for the Debtor and his family during the relevant time period.



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                        B. Recovery of the Transfer Pursuant to 11 U.S.C. § 550

          Pursuant to 11 U.S.C. § 550(a), “the trustee may recover, for the benefit of the estate, the

property transferred, or, if the court so orders, the value of the such property, from - (1) the

initial transferee of such transfer or the entity for whose benefit such transfer was made; or (2)

any immediate or mediate transferee of such initial transferee.

          It is undisputed that the Defendants are the initial transferees of the Transfer and the

Court has concluded that the Transfer constitutes a preferential transfer under § 547.

Accordingly, the Plaintiff is entitled to recover the $33,506.42 from the Defendants pursuant to §

550(a).



                                           V. CONCLUSION

          For the reasons set forth herein, the Court concludes that (1) the Debtor’s transfer of the

$33,526.42 in worker’s compensation proceeds to the Defendants constitutes a preferential

transfer and that the transfer is avoidable by the Trustee pursuant to § 547, and (2) the Plaintiff is

entitled to a money judgment in the amount of $33,526.42 pursuant to § 550(a). Plaintiff shall

prepare and present an appropriate order.




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Signed on March 22, 2013
                                                   ____ __/s/ Walter Shapero_    ___
                                                      Walter Shapero
                                                      United States Bankruptcy Judge


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